                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                        Norfolk Division

UNITED STATES OF AMERICA                        )
                                                )
                                                )            CRIMINAL NO. 2:11cr145
                                                )            CIVIL NO. 2:13cv98
                                                )
DERRICK DAVON ROBERTS                           )
                                                )
               Defendant.                       )

               RESPONSE OF THE UNITED STATES TO DEFENDANT’S
            MOTION TO VACATE, SET ASIDE, OR CORRECT HIS SENTENCE

       The United States of America, by its attorneys, Neil H. MacBride, United States

Attorney, and William D. Muhr, Assistant United States Attorney, respectfully submits this

response to defendant Derrick Davon Robert’s motion pursuant to Title 28, Untied States Code,

Section 2255 to Vacate, Set Aside or Correct His Sentence.

                        FACTUAL AND PROCEDURAL HISTORY

       A.      Indictment

       On August 18, 2011, Roberts, along with co-defendant Eric Goodman, was named in a

thirteen count Indictment issued by a federal grand jury sitting in Norfolk, Virginia. The

Indictment charged Roberts with one count of a Hobbs Act Conspiracy, in violation of 18 U.S.C.

§ 1951(a), six substantive Hobbs Act Robberies in violation of 18 U.S.C. § 1951(a) and six

counts of Using a Firearm During a Crime of Violence in violation of 18 U.S.C. § 924(c)(1)(A).

       B.      Proceedings in District Court

       Defendant was arrested on July 27, 2011, on a Criminal Complaint that was filed with the

Court on July 13, 2011. After making his initial appearance on these charges, Roberts was

appointed Lawrence H. Woodward, Jr. to serve as his counsel in this matter. Roberts was

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arraigned on August 31, 2011. Defense counsel was provided with the entire discovery in the

case.

        On October 10, 2011, this Court held a change of plea hearing. At the hearing, while

under oath and after proper examination by the Court the defendant pled guilty to Counts Three

and Eleven. Both of these counts charged the defendant with Use of a Firearm in Furtherance of

a Crime of Violence. As a result of the guilty plea the defendant was facing a mandatory

minimum sentence of thirty-two years imprisonment and a maximum sentence of Life.        During

the plea hearing, the Court made certain that the defendant had sufficient time to speak with Mr.

Woodward to make certain the defendant understood that the proceeding before the Court was

for the defendant to enter a guilty to two charges in the indictment and that the defendant

understood the plea agreement and discussed every paragraph with Mr. Woodward. (Ex. 1, Plea

Hearing Transcript pp. 4-5). The Plea Agreement which was filed by the Court and was signed

by the defendant and initialed on each page clearly states on the first page that the mandatory

minimum sentence for Count Three is seven years and the mandatory minimum sentence on

Count Eleven is twenty-five years. (Ex. 2, Plea Agreement p. 1)

              During the plea hearing the Court informed the defendant on three separate

occasions that by pleading guilty to Counts Three and Eleven, both charging him with use of a

firearm during a crime of violence, that the defendant would be subject to a mandatory minimum

sentence of seven years on Count Three and a twenty-five year mandatory minimum sentence on

Count Eleven for a total mandatory minimum sentence of thirty-two years. (Ex. 1, Plea Hearing

Transcript pp. 5, 6, 12) On each occasion the defendant answered in the affirmative that he

understood the mandatory minimum sentences. When the Court inquired of Mr. Woodward if

there were any meritorious defenses, during the course of Mr. Woodward’s answer, he informed

the court that he explained to the defendant the mandatory minimum sentences on 924 gun


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counts. (Ex 1, Plea Hearing Transcript p. 13) The Court also made certain that the defendant

understood that by pleading guilty pursuant to the plea agreement that he was waiving his right

to appeal his sentence.

       Thereafter, on February 22, 2012 the Court sentenced defendant to the mandatory

minimum sentences of 84 months on Count Three and 300 months on Count Eleven for a total

consecutive sentence of thirty-two years. All other counts were dismissed. Defendant did not

appeal the judgment of the District Court.

       C.      Defendant’s Motion Pursuant to 28 U.S.C. § 2255

       On February 19, 2013, defendant made the current motion to vacate, set aside, or correct

his sentence pursuant to 28 U.S.C. § 2255. Defendant made this motion under the penalty of

perjury. In this motion, defendant argues that he is due relief because (1) Mr. Woodward was

ineffective by failing to explain to the defendant the consequence of pleading guilty; (2) Mr.

Woodward was ineffective by failing to file a notice of appeal; (3) Mr. Woodward was

ineffective at sentencing by failing to present mitigating factors to lessen the mandatory

minimum sentence of thirty-two years based on 3553 sentencing factors; (4) And the Count

violated defendant’s Due Process rights and a right to a fair trial by denying him a three point

reduction for acceptance of responsibility. On March 15, 2013, the Court ordered the United

States to respond within forty-five days. The United States hereby responds to defendant’s

motion.

II.    STANDARD OF REVIEW

       Pursuant to 28 U.S.C. § 2255, there are four cognizable grounds upon which a federal

prisoner may move to vacate, set aside, or correct his sentence: (1) constitutional issues; (2)

challenges to the District Court’s jurisdiction to impose the sentence; (3) challenges to the length

of a sentence in excess of the statutory maximum; and (4) claims that the sentence is otherwise


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subject to collateral attack. See 28 U.S.C. § 2255. “Relief under 28 U.S.C. § 2255 is reserved

for transgressions of constitutional rights and for a narrow range of injuries that could not have

been raised on direct appeal and would, if condoned, result in a complete miscarriage of justice.”

Jones v. United States, No. 4:09CV76, 2010 WL 451320, at *4 (E.D. Va. Feb. 8, 2010) (quoting

United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992)); see also United States v. Addonzio,

442 U.S. 178, 185 (1979) (affirming that Section 2255 is appropriate for instances where there is

an error constituting a “fundamental defect which inherently results in a complete miscarriage of

justice”); Davis v. United States, 417 U.S. 333, 346 (1974) (indicating that not every asserted

error of law constitutes a complete miscarriage of justice).. The movant bears the burden of

proving his grounds for collateral attack by a preponderance of the evidence. Miller v. United

States, 261 F.2d 546, 547 (4th Cir. 1958) (per curium).

III.   ANALYSIS

       A.      Legal Standard for Claims of Ineffective Assistance of Counsel.

       Under well-settled principles first articulated by the Supreme Court in Strickland v.

Washington, defendant must demonstrate:             (1) that his attorney’s performance was

constitutionally deficient when judged under an objective standard of reasonableness; and (2)

that he was so prejudiced by his attorney’s deficient performance that there is a reasonable

probability that, but for his deficiencies, the result of the proceeding would have been different.

Strickland v. Washington, 466 U.S. 668, 687-89 (1984); see also Lockhart v. Fretwell, 506 U.S.

364, 369 (1993).

       The “deficient performance” component of this two-pronged formulation requires a

litigant to demonstrate “that counsel made errors so serious that counsel was not functioning as

the ‘counsel’ guaranteed the defendant by the Sixth Amendment.” Strickland, 466 U.S. at 687.

That is, a litigant must show that his attorney’s performance fell below an objective standard of


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reasonableness. Id. at 688. Judicial scrutiny of an attorney’s performance “must be highly

deferential” and “indulge a strong presumption that counsel’s conduct falls within the wide range

of reasonable professional assistance.” Id. at 689. Furthermore, in considering whether an

attorney performed below the level expected of a reasonably competent attorney, it is necessary

to “judge the reasonableness of counsel’s challenged conduct on the facts of the particular case,

viewed as of the time of counsel’s conduct.” Id. at 690. As stated by the Fourth Circuit, the

standard for deficient performance is “not merely below average performance; rather, the

attorney’s actions must fall below the wide range of professionally competent performance.”

Griffin v. Warden, Md. Corr. Adjustment Ctr., 970 F.2d 1355, 1357 (4th Cir. 1992).

       The “prejudice” component of Strickland requires a litigant to prove that “there is a

reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

would have been different.” Strickland, 466 U.S. at 694. This prong of the test focuses on the

question of whether an attorney’s deficient performance rendered the result of the proceeding

unreliable or fundamentally unfair. Id. at 687. The defendant “bears the burden of proving

Strickland prejudice,” and “[i]f the defendant cannot demonstrate the requisite prejudice, a

reviewing court need not consider the performance prong.” Fields v. Attorney Gen. of State of

Md., 956 F.2d 1290, 1297 (4th Cir. 1992). In any review of counsel’s performance, the court

should be “highly deferential” in assuming that the conduct was reasonable under the

circumstances. Strickland, 466 U.S. at 689.

       A litigant who alleges ineffective assistance of counsel following the entry of a guilty

plea, such as defendant does here, has an even higher burden to meet. See, e.g., United States v.

Dyess, 478 F.3d 224, 237 (4th Cir. 2007), cert. denied, 128 S. Ct. 707. In such cases, the

“prejudice” prong of Strickland is “slightly modified. Such a defendant ‘must show that there is




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a reasonable probability that, but for counsel’s errors, he would not have pleaded guilty and

would have instead gone to trial.’” Hooper v. Garraghty, 845 F.2d 471, 475 (4th Cir. 1988).

          Moreover, a defendant is not entitled to a hearing on an ineffective assistance of counsel

claim based on “unsupported, conclusory allegations.” See Nickerson v. Lee, 971 F.2d 1125,

1136 (4th Cir. 1992), overruled on other grounds, Grey v. Netherland, 518 U.S. 152, 165-66

(1996).

          The failure of a litigant to meet either component of the Strickland test defeats an

ineffective assistance of counsel claim. Strickland, 466 U.S. at 700. The court need not address

both components of the test if the litigant makes an insufficient showing on one prong of the test.

Id. at 697. Here, defendant cannot, as to any of his three claims, satisfy the Strickland test.

          B.     ISSUE ONE: Defendant pled guilty knowing the full consequence of his

guilty plea that he would be sentenced to a minimum of thirty-two years.

          The defendant claims that Mr. Woodward told him that if he entered a guilty plea

pursuant to the plea agreement offered to him that his sentence would be between 120 to 180

months. Therefore, defendant claims that he entered into the plea agreement because he relied

on the erroneous advice of Mr. Woodward. The known facts regarding the guilty plea of the

defendant belie the defendant’s claim.

          During the course of the Rule 11 guilty plea Mr. Woodward informed the Court that he

explained to the defendant the mandatory minimums in regards to 924 gun counts. (Ex 1, Plea

Hearing Transcript p. 13) In addition, the Court itself, during the plea hearing informed the

defendant on three separate occasions that by pleading guilty to Counts Three and Eleven, both

charging him with use of a firearm during a crime of violence, that the defendant would be

subject to a mandatory minimum sentence of seven years on Count Three and a twenty-five year

mandatory minimum sentence on Count Eleven for a total mandatory minimum sentence of


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thirty-two years. On each occasion the defendant answered in the affirmative that he understood

the mandatory minimum sentences. (Ex. 1, Plea Hearing Transcript pp. 5, 6, 12) Lastly, the

defendant’s Plea Agreement which was filed by the Court and was signed by the defendant and

initialed on each page clearly states on the first page that the mandatory minimum sentence for

Count Three is seven years and the mandatory minimum sentence on Count Eleven is twenty-

five years. (Ex. 2, Plea Agreement p. 1). Obviously the defendant was not laboring under some

false notion when he entered the guilty plea that he would only receive a sentence in the range of

120-180 months when it was made abundantly clear to him by both the Court, Mr. Woodward

and the plea agreement itself that he would be subject to a mandatory minimum sentence of

thirty-two years by entering into the guilty plea. Clearly the defendant’s claim is fabricated,

without merit, and should be dismissed.

        C.       ISSUE TWO: Defendant claims that Mr. Woodward was ineffective by
failing to file a notice of appeal.

       Defendant claims that he wrote Mr. Woodward several letters requesting Mr. Woodward

to file an appeal on behalf of the defendant. Defendant does not specify whether he wrote these

letters within the time frame wherein the filing of a notice of appeal would have been timely or

whether he wrote them after that time frame. The law is clear that it is per se ineffective

assistance of counsel if a defense counsel fails to file an appeal at the request of a defendant.

Evitts v. Lucey, 469 U.S. 387, 391-405; Jones v. Barnes, 463 U.S. 745, 751 (1983); Anders v.

California, 386 U.S. 738, 744 91967)

       It is doubtful that an attorney who possesses as much experience as Mr. Woodward

would have purposefully failed to file an appeal at the timely request of the defendant.

Nevertheless, either by a court ordered affidavit from Mr. Woodward or through an evidentiary




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hearing 1 it will have to be determined if defendant in fact requested a timely appeal and whether

or not Mr. Woodward denied his request. If the defendant’s claim is false then this issue should

be dismissed, however if his claim is true than it would appear that defendant should be allowed

to file an appeal. In his plea agreement, defendant knowingly and voluntarily waived his right to

an appeal, therefore, any filing of an appeal will be subject to summary dismissal by the Fourth

Circuit. United States v. Linder, 552 F.3d 391, 396-97 (4th Cir. 2008)

       D.     ISSUE THREE: Defendant’s mandatory minimum sentence of thirty-two
years could not be reduced by any mitigating factors based on 3553 sentencing factors.

         Defendant claims that Mr. Woodward was ineffective because he failed to present any

mitigating factors based on 3553 sentencing factors to reduce the defendant’s sentence from the

mandatory minimum sentence of thirty-two years to a sentence between 120-180 months. There

simply are no mitigating sentencing factors in regards to a mandatory minimum sentence that

could be presented to the court in order to mitigate the defendant’s sentence below the

mandatory minimum sentence. See U.S.S.G § 5G1.1(b)&(c) and United States v. Crittendon,

883 F.2d 326, 330-31 (4th Cir. 1989). Therefore, since no mitigating sentencing factors exists,

Mr. Woodward was obviously not ineffective by failing to present and argue mitigating factors

to reduce the defendant’s sentence from the mandatory minimum sentence of thirty-two years to

120-180 months. This issue should be dismissed.

       E.      ISSUE FOUR: The Court did not violate the defendant’s Due Process rights
and a right to a fair trial by denying defendant a three point reduction for acceptance of
responsibility.

         The Court sentenced the defendant to the mandatory minimum sentence of thirty-two

years which is the lowest possible sentence by the law that the Court could give to the defendant.

Because it is a mandatory minimum sentence it is not subject to any reduction for acceptance of
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  By virtue of a 2010 American Bar Association Opinion, defense counsels are generally unwilling to provide a
responsive affidavit upon the request of the United States. See ABA Formal Op. 10-456 (July 14, 2010) (noting that
it is “highly unlikely” that defense counsel will be justified in providing information to a prosecutor when a former
client brings an ineffective assistance of counsel claim, absent a court-supervised response).

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responsibility. See U.S.S.G § 5G1.1(b)&(c) and United States v. Crittendon, 883 F.2d 326, 330-

31 (4th Cir. 1989). Therefore the Court did not violate the defendant’s Due Process rights and

this issue should be dismissed.

IV.    Conclusion

       On Issues One and Three the defendant has failed to demonstrate that Mr. Woodward

was ineffective pursuant to the Strickland standard. Therefore these issues should be dismissed.

In regards to Issue Two, the Court will have to either order Mr. Woodward to submit an affidavit

or conduct an evidentiary hearing to determine (1) whether the defendant made a timely

requested of Mr. Woodward to file an appeal. (2) And if so, whether Mr. Woodward failed to file

the appeal. If the defendant’s claim is false then this issue should be dismissed. However, if the

defendant’s claim is true then it would appear that he should be allowed to file an appeal even

though it is subject to summary dismissal by the Fourth Circuit because the defendant waived his

right to appeal in his plea agreement. In regards to Issue Four, the defendant has failed to

demonstrate that the Court violated his Due Process rights and therefore this issue should be

dismissed.

                                             Respectfully submitted,

                                             Neil H. MacBride
                                             United States Attorney

                                     By:            /s/
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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 24th day of April, 2013, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, and mailed a true and correct copy

of the foregoing to the following non-filing user:

                                    Derrick Devon Roberts
                                 Federal Inmate No. 78812-083
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                                                     /s/
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